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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                               March 13, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

    In re: DEUTSCHE BANK NATIONAL                        §
    TRUST COMPANY AS TRUSTEE -
    C/O CODILIS & MOODY, P.C.
                                                         §
    Proceedings to Enforce                               §   Misc. Proceeding No. 24-00444
    Fed. R. Bankr. P. 9036                               §

       ORDER REQUIRING DEUTSCHE BANK NATIONAL TRUST COMPANY AS
      TRUSTEE - C/O CODILIS & MOODY, P.C. TO APPEAR THROUGH COUNSEL
                    AT A STATUS CONFERENCE ON 04/11/2024

        The Administrative Office of the United States Courts has advised the Court that
DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS &
MOODY, P.C. has been designated as a high-volume paper-notice recipient of bankruptcy notices
under Federal Rule of Bankruptcy Procedure 9036. A high-volume paper-notice recipient is
currently defined as an entity that has been mailed 25 or more notices in any calendar month by
the Bankruptcy Noticing Center. Federal Rule of Bankruptcy Procedure 9036 mandates that high
volume recipients (with limited exceptions) must receive electronic notices.

    The Administrative Office of the United States Courts has advised the Court that
DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS &
MOODY, P.C. has failed to register to receive electronic bankruptcy notices.

        On 04/11/2024 at 11:00 AM at Courtroom 404, 515 Rusk, Houston, TX 77002, the Court
will conduct a status conference to determine what action should be taken to compel (if necessary)
DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS &
MOODY, P.C. to comply with Federal Rule of Bankruptcy Procedure 9036. DEUTSCHE BANK
NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS & MOODY, P.C. is
ordered to appear at the status conference through counsel. Counsel should be prepared to advise
the Court on the steps that DEUTSCHE BANK NATIONAL TRUST COMPANY AS
TRUSTEE - C/O CODILIS & MOODY, P.C. is taking to assure comprehensive compliance
with Federal Rule of Bankruptcy Procedure 9036.1

       Parties and counsel may appear in person, or via videoconference and telephone. Audio
access will be at (832) 917-1510, conference room number 954554. Video access will be at
www.goto.com/meeting/join#, meeting room “judgeisgur”.



1
  In addition to any appropriate sanctions, failure to comply with this Order or register for electronic noticing will
result in the cessation of paper noticing from the U.S. Bankruptcy Courts and the creation of an electronic account
for you by the Bankruptcy Noticing Center, as set forth in Exhibit B.
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        In lieu of attendance at the scheduled status conference, DEUTSCHE BANK
NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS & MOODY, P.C. may
complete and file Exhibit A, confirming that it has completed its registration for electronic
noticing and will receive court notices at an email address chosen by the entity.2 Alternatively,
DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE - C/O CODILIS &
MOODY, P.C. may complete and file Exhibit B, confirming that it wishes to receive its court
notices at an electronic account created for the entity by the Bankruptcy Noticing Center. Any
completed exhibit and accompanying materials must be filed with the Court not less than 72 hours
prior to the commencement of the scheduled status conference.

       The Clerk will serve this on DEUTSCHE BANK NATIONAL TRUST COMPANY AS
TRUSTEE - C/O CODILIS & MOODY, P.C. by United States Mail and file a Certificate of
Service.




Signed: 3/13/24

                                                              ____________________________________
                                                                            Marvin Isgur
                                                                  United States Bankruptcy Judge




2
 Registration for electronic bankruptcy noticing is at the following web site:
https://bankruptcynotices.uscourts.gov/register.
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                                            EXHIBIT A

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re: DEUTSCHE BANK NATIONAL                 §
 TRUST COMPANY AS TRUSTEE -
 C/O CODILIS & MOODY, P.C.
                                               §
 Proceedings to Enforce                        §   Misc. Proceeding No. 24-00444
 Fed. R. Bankr. P. 9036                        §

                   STATEMENT CONFIRMING REGISTRATION FOR
                      ELECTRONIC BANKRUPTCY NOTICING

    This Statement is filed on behalf of DEUTSCHE BANK NATIONAL TRUST
COMPANY AS TRUSTEE - C/O CODILIS & MOODY, P.C..

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

       The entity identified above registered for electronic bankruptcy noticing on ___________.
The entity has attached to this statement a copy of the confirmation email it received from the
Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
notices from the U.S. Bankruptcy Courts at the email address identified on the attached
confirmation email from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.



                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
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                                            EXHIBIT B

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re: DEUTSCHE BANK NATIONAL                 §
 TRUST COMPANY AS TRUSTEE -
 C/O CODILIS & MOODY, P.C.
                                               §
 Proceedings to Enforce                        §   Misc. Proceeding No. 24-00444
 Fed. R. Bankr. P. 9036                        §

  STATEMENT ACCEPTING ELECTRONIC COURT NOTICES AT AN ACCOUNT
          CREATED BY THE BANKRUPTCY NOTICING CENTER

    This Statement is filed on behalf of DEUTSCHE BANK NATIONAL TRUST
COMPANY AS TRUSTEE - C/O CODILIS & MOODY, P.C..

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

         The entity identified above is aware that, beginning on May 20, 2024, it will no longer be
sent paper bankruptcy notices from the U.S. Bankruptcy Courts. The entity confirms that it wishes
to receive its bankruptcy notices from the U.S. Bankruptcy Courts at an electronic account created
for the entity by the Bankruptcy Noticing Center. The entity confirms that it will take the necessary
steps to access the electronic account in accordance with the instructions provided to the entity in
separate letters from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.


                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
